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                             Completeand Mail To:
                      BORRELLI & ASSOCIATES'P.L.L.C.
        Attn: JOHN GUGLIELMO, et al. v. THE CHEESECAKEF'ACTORY,et al.
                        1010Northern BoulevardoSuite328
                          Great Neck,New York ll02l
                              Tel: (516)248-5550
                              Fax: (516)248-6027

                      CONSENTTO JOIN COLLECTIVE ACTION

        I hereby consentto join the lawsuit, entitled JOHN GUGLIELMO. on behalf of himself
          thnsesimilarlvsitrraterl.v.THECHEESECAKEFACTo@
                  broughtpursuantto the Fair Labor StandardsAct, the New York State
LaborLaw, andtheNew York Codeof RulesandRegulations'

       By signingbelow,I statethat I am currentlyor wasformerlyemployedby the defendants
at somepoini durlngthe previoussix years. I wasrequiredto work for the defendants in excess
of forty j+O; hourr per week without being properlycompensated  for all hours worked or for
overtimeor spreadof hourscompensation   in accordancewith stateandfederallaw.

         I herebydesignateBonelli & Associates,PLLC ("Plaintiffs' Counsel")to representme
for all purposesof this action.

       I also designateJOHN GUGLIELMO, the classrepresentative     who broughtthe above-
referencedlawsuit,asmy agentto makedecisionson my behalfconcerningthe litigation andthe
methodand mannerof conductingthe litigation. I also statethat I have enteredinto my own
retaineragreementwith Plaintiffs' Counselor consentto the retaineragreemententeredinto by
Mr. GUGLIELMO, concerningattorneys'feesand costs,andall othermatterspertainingto this
lawsuit.



Date




                                                 StreetAddress   I
TelephoneNumber


Email                                            City, State,Zip Code


                with Defendants
Datesof Employment
